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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR
   9004-1(b)

   MANDELBAUM BARRETT PC                                 Case No. 23-13359 (VFP)
   3 Becker Farm Road, Suite 105
   Roseland, New Jersey 07068                            Chapter 11
   Ph.: 973-736-4600
   Fax: 973-736-4670
   Vincent J. Roldan
   vroldan@mblawfirm.com

   Attorneys for Tax Appraisal District of Bell
   County, Texas

   In re

   Bed Bath & Beyond, Inc.

                              Debtor.


    OBJECTION OF TAX APPRAISAL DISTRICT OF BELL COUNTY, TEXAS TO
  DEBTORS’ MOTION TO DETERMINE TAX LIABILITY AND STAY PROCEEDINGS
                    and REQUEST FOR ABSTENTION
                         Responding to Doc #2157

           TAX APPRAISAL DISTRICT OF BELL COUNTY, TEXAS (hereinafter “Bell”), as

 and for its Objection to Debtors’ Motion to Determine Tax Liability and Stay Proceedings and

 Request for Abstention (hereinafter, the “Motion”), respectfully represents as follows:

                        BELL’S RESPONSES TO DEBTORS’ ALLEGATIONS

           1.       Bell confirms its consent to the Court entering a final order in connection with the

 Motion to the extent it is later determined that the Court, absent consent of the parties, cannot

 enter final orders or judgments in connection herewith consistent with Article III of the United

 States Constitution.




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          2.        The Debtors challenge the assessed values of the business and personal property

 in their former Bell County, Texas stores. Bell asserts that the methodology asserted by the

 Debtors in the Motion is erroneous and not in compliance with the requirements under the Texas

 Property Code. The Debtors assert, on their Exhibit 1, proposed fair market values significantly

 below the fair market values they themselves provided to Bell in April 2023 on their required

 rendition forms.

          3.        The renditions were furnished by the Debtors’ VP of Tax at the time. Now, a short

 time later, an outside for-profit company is asserting that the values provided by the Debtors’ VP

 of Tax are substantially erroneous, although Debtors offer nothing but vague allegations without

 proof. Bell accepted the rendered value on one account and increased the rendered value by a

 mere 1.14% of the second account. Yet, the Debtors challenge their own values.

          4.        In paragraph 12 of the Motion, the Debtors cite certain Texas Tax Code Sections

 setting forth that, in assessing the Property for the tax year 2023, the various taxing assessors

 were required to determine the fair market value of the Property, “appraised at its market value

 as of January 1 of the applicable tax year”, and “determined by the application of generally

 accepted appraisal methods and techniques”. The Debtors, however, omit a relevant portion of

 Texas Tax Code Section 23.01(b) from their assertions, being: “If the appraisal district

 determines the appraised value of a property using mass appraisal standards, the mass appraisal

 standards must (emphasis added) comply with the Uniform Standards of Professional Appraisal

 Practice. The same or similar appraisal methods and techniques shall (emphasis added) be used

 in appraising the same or similar kinds of property. Further, Bell admits the definition of market

 value as contained in paragraph 12 of the Motion. Although the definition is the same under both

 statutes, the proper statute citation is Texas Tax Code §104(7) not Texas Administrative Code



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 §9.4251, which pertains to Arbitration of Appraisal Review Board Determinations. Bell would

 show that “Appraised value” is also a defined term in Texas Tax Code §104(8) - “the value of

 property determined under the appraisal methods and procedures of Tax Code, Chapter 23”.

 Further, the Texas Constitution, Article VIII Section 1(a) provides that “taxation shall be equal

 and uniform. Section (b) provides that all tangible real and personal property in the State, unless

 exempt as required or permitted by said Constitution, whether owned by natural persons or

 corporations, other than municipal, shall be taxed in proportion to its value, which shall be

 ascertained as may be provided by law.

          5.        In paragraph 13 of the Motion, the Debtors again omit a crucial part of the fair

 market requirement – that the Property be exposed with a reasonable time (emphasis added) for

 the seller to find a purchaser. As to inventory, Texas Tax Code §23.12 is applicable. “. (a)

 Except as provided by Sections 23.121, 23.1241, 23.124, and 23.127, the market value of an

 inventory is the price for which it would sell as a unit to a purchaser who would continue the

 business. (b) The chief appraiser shall establish procedures for the equitable and uniform

 appraisal of inventory for taxation. In conjunction with the establishment of the procedures, the

 chief appraiser shall: (1) establish, publish, and adhere to one procedure for the determination of

 the quantity of property held in inventory without regard to the kind, nature, or character of the

 property comprising the inventory; and (2) apply the same enforcement, verification, and audit

 procedures, techniques, and criteria to the discovery, physical examination, or quantification of

 all inventories without regard to the kind, nature, or character of the property comprising the

 inventory. (c) In appraising an inventory, the chief appraiser shall use the information obtained

 pursuant to Subsection (b) of this section and shall apply generally accepted appraisal techniques

 in computing the market value as defined in Subsection (a) of this section.



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           6.       The Debtors state that use of sales data from applicable store, and unrelated

 stores, and third party discount value sites are appropriate measures of value. These items are

 not pertinent and contradict the Texas Tax Code requirements of appraisal.

           7.       The Debtors assert that bringing the valuation to the Bankruptcy Court under 11

 U.S.C. §505 will result in an expeditious judicial determination. Bell disputes this assertion.

 Discovery as well as a separate evidentiary hearing for each taxing jurisdiction will be necessary.

 The Texas administrative process is not cumbersome. In fact, the Debtors have been availing

 themselves of same since May 2023 without prejudice to themselves. The Texas Counties will,

 conversely, be severely prejudiced, especially financially, if these matters are heard in New

 Jersey.

           8.       The value of the Property has already been properly established in accordance

  with the requirements of the Texas Tax Code and the 2023 tax amounts have been properly

  assessed.

     BELL REQUESTS THAT THE COURT EXERCISE PERMISSIVE ABSTENTION

           9.       Under 11 U.S.C. §505(a)(1) the Court may (emphasis added) determine tax

 liability. The Court is not mandated to do so. In re Luongo, 259 F.3d 323, 330 (5th Cir. 2001),

 In re Beisel, 195 B.R. 378, 379 (Bankr.S.D.Ohio 1996) (“The bankruptcy court’s ability to

 abstain is premised on Congress’ use of the word “may” in §505.”). Further, under 28 U.S.C.

 §1334(c)(1), “except with respect to a case under chapter 15 of title 11, nothing in this section

 prevents a district court in the interest of justice, or in the interest of comity with State courts or

 respect for State law, from abstaining from hearing a particular proceeding arising under title 11

 or arising in or related to a case under title 11”. The factors frequently cited by the courts in

 deciding whether to abstain include the complexity of the tax issues to be decided, the need to



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 administer the bankruptcy case in an orderly and efficient manner, the burden on the bankruptcy

 court's docket, the length of time required for trial and decision, the asset and liability structure

 of the debtor, and the prejudice to the taxing authority. In re Hunt, 95 B.R. at 445.

          10.       While the tax issues in this matter are not complex, they are fact specific to each

 store and taxing jurisdiction. Texas has a streamlined established statutory process for a taxpayer

 to challenge taxable values. Having the matter heard in New Jersey will not expedite

 administration of the estate and will burden the Court. This matter will require lengthy discovery

 and numerous separate trials before the Court. It is more efficient for the Debtors to continue to

 avail themselves of the appeals process in each Texas jurisdiction, although it is antithetical for

 the Debtors to challenge their own asserted values. Further, requiring the Texas taxing

 jurisdictions to address this matter in New Jersey is burdensome and costly to the state entities

 involved here. Government resources should be conserved not exploited.

           11.      Another touchstone of the abstention inquiry is the substantive law governing the

  material issues.      When bankruptcy issues are at the core of a dispute, it would not make sense

  for a bankruptcy court to abstain from deciding those matters over which it has particular

  expertise. Here, Texas tax law is the substantive law. Although the Court is capable of

  making a determination in this matter, the Court would be required to conduct a fact-intensive

  appraisal process under Texas law. Texas has venues better suited for the determinations at

  hand.     Further, it is imperative to the integrity of the Texas ad valorem taxing system that

  uniformity of assessment be maintained as required by the Texas Constitution Article VIII

  Section 1(a) - “taxation shall be equal and uniform”.

          12.       Another consideration in abstention is the impact on the Debtor. In re Smith, 122

 B.R. 130, 133-134 (Bankr. M.D.Fla. 1990). The Smith court declined to exercise its discretion



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 because doing so would not assist the debtor with a fresh start. The Court may abstain from

 making a § 505(a) valuation if the impact of abstention on the general administration of the

 estate, and on the Debtor, is minimal or nonexistent. In re American Motor Club, Inc., 139 B.R.

 578, 581 (Bankr. E.D.N.Y. 1992). The Debtors herein are not in need of a fresh start. They have

 liquidated. They have confirmed a Plan. They are holding the proceeds of the sales. The

 Debtors will not be prejudiced by paying their rightfully due taxes.

                        TEXAS BUSINESS PERSONAL PROPERTY TAX TIMELINE

          13.       On January 1st of each year, a tax lien attaches to property to secure the payment

 of all taxes, penalties and interest ultimately imposed for the year on the property. Texas Tax

 Code §32.01. Said tax lien takes priority over most other liens. Texas Tax Code §32.04, 32.05.

          14.       A taxpayer is required to render for taxation, by April 15 of each year, to each

 appraisal district in which the taxpayer, as of January 1, owns tangible personal property used for

 the production of income. Texas Tax Code Chapter 22. The Debtors submitted a rendition for

 each of the Bell accounts as detailed below.

          15.       The chief appraiser is to mail notices of appraised value for properties other than

 single-family homesteads by May 1st or as soon as practicable thereafter. Texas Tax Code

 §25.19.

          16.       A taxpayer may protest a notice of appraised value with the established Appraisal

 Review Board (ARB) by May 15 or by the 30th day after notice of appraised value is delivered,

 whichever is later. Texas Tax Code §41.44.

          17.       The tax assessor mails tax bills on October 1, or as soon after as practical. Texas

 Tax Code §31.01.




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                                           THE APPEALS PROCESS

          18.       As stated in paragraph 16 above, a taxpayer can challenge the appraised value of

 property by timely filing a protest with the Appraisal District. The matter then goes before an

 Appraisal Review Board (ARB), which is a group of citizens that hears taxpayer protests. A

 taxpayer can appear in person, offer evidence by affidavit, or appear telephonically or by video.

 A taxpayer can appoint an agent to act in its place. The process is not burdensome.

          19.       Texas Tax Code §41.41 sets forth the actions that a property owner can protest

 before the appraisal review board. The only action applicable in this case is (1) determination of

 the appraised value of the owner’s property. Bed Bath & Beyond filed such protests with the

 ARBs on all accounts on which they seek to challenge the value. Once the debtors filed their

 protests, the ARB set hearings on each. The debtors had the opportunity to offer evidence or

 argument by affidavit without personally appears and were able to appear by telephone

 conference call or videoconference to offer argument. Texas Tax Code §41.45(b). If the Debtors

 oppose the ruling of the ARB, they have the option to seek arbitration or to file a lawsuit with the

 district court within 60 days of the ARB Order. Texas Tax Code §41A.03, 42.21. Information

 regarding this is clearly available on each CAD’s website and is required to be prominently

 displayed to taxpayers.

          20.       After making a determination or decision, the ARB, by written order, directs the

 chief appraiser to correct or change the appraisal records or the appraisal roll to conform the

 appraisal records or roll to the board’s determination or decision. Texas Tax Code §41.02.

                        APPRAISAL DISTRICT VS. TAX ASSESSOR/COLLECTOR

          21.       An appraisal district and a tax assessor/collector are separate and distinct entities

 with separate and distinct statutory duties. An appraisal district appraises all real and business



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 personal property within a county, according to the Texas Tax Code and the Uniform Standards

 of Professional Appraisal Practices (USPAP). The Texas Constitution Article 8, Section 14

 requires the voters of a county to elect an Assessor and Collector of Taxes. The Tax Assessor-

 Collector has specific duties as outlined in the Texas Constitution and by state statutes, which

 include the collection of ad valorem taxes for the county, as well as contracting with other

 entities to collect their jurisdictions’ taxes. While in many cases, the appraisal district does not

 collect ad valorem taxes, in Bell County, Texas these duties are contracted to the Tax Appraisal

 District. An appraisal district is a political subdivision of the state. Texas Tax Code §6.01

                                            THE BELL CLAIM

          22.       The Bell claim includes the tax year 2023 taxes for two (2) accounts, being

 Account No. 405003 for the store formerly located at 201 E. Central Texas Expy, Suite 250 in

 Harker Heights, Texas and Account No. 238464 for the store formerly located at 2112 SW H.K.

 Dodgen Loop 151, Temple, Texas.

          23.       Bell filed its original claim, Claim No. 146 on the Kroll claims record, on May 1,

 2023 and included estimated tax numbers on said claim. Actual assessed amounts became

 available in October, 2023, and on October 16, 2023, Bell amended its claim, Claim No. 17870,

 to the actual assessed amounts.

          24.       Calculation of the claim amount is a simple mathematical formula. The appraised

 value of property is multiplied by the established tax rate for the applicable jurisdiction. The

 applicable 2023 tax rates, per $100.00 of value, for the Accounts are:

 Account 405003:                                         Account 238464:

 Bell County – 0.291400                                  Bell County – 0.291400
 City of Harker Heights – 0.525000                       City of Temple – 0.613000
 Killeen I.S.D. – 0.850100                               Temple I.S.D. – 1.148900
 Central Texas College - 0.082500                        Temple College – 0.201700

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 Bell County WCID#6 - 0.024700                            Clearwater UWCD – 0.002372
 Clearwater UWCD – 0.002372                               Temple Health & Bioscience – 0.014211
 Road District – 0.021100                                 Road District – 0.021100
 --------------------------------------------             ---------------------------------------------------
 Total rate – 1.797172                                    Total rate – 2.292683

 Taxable value - $653,582.00                              Taxable value - $737,441.00
 Assessed 2023 tax - $11,746.00                           Assessed 2023 tax - $16,907.19

 The Debtors have not challenged the tax rates.

                                           THE KILLEEN STORE

          25.       Pursuant to the statutory timeline, the tax liens attached to the property on January

 1, 2023 and are first in priority to all other liens existing on this specific property. Upon the sale,

 the lien transferred to the proceeds. The Debtors submitted their required renditions to Bell.

 Both are dated April 11, 2023 and signed under penalty of prosecution for Tampering With a

 Government Record by Debtors’ Vice President of Tax at that time, Toni-Anne Andrisano. On

 said form, Ms. Andrisano states that as of a December 31, 2022 Inventory, one day prior to the

 required valuation date of January 1, 2023, the Killeen store had $627,503.00 in inventory,

 valued at cost. She also provides an itemized listing of furniture and fixtures, indicating the

 acquisition date, age, asset ID number, asset description, cost, and depreciated value. She does

 the same for signs and computer equipment. She states the depreciated value of said assets is

 $29,226.00 for the furniture and fixtures, $6,232.00 for signs, and $3,215.00 for computer

 equipment. The aggregate value of the taxable property, per the Debtors’ rendition, is

 $666,176.00. Bell assessed the taxable value at a LOWER figure of $653,582.00.

          26.       By way of comparison, the Debtors’ taxable property value for the Killeen store

 has been steadily decreasing over the past eight (8) years as follows:

 2017 - $1,322,227.00

 2018 - $1,088,447.00

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 2019 - $1,082,060.00

 2020 - $701,979.00

 2021 - $686,065.00

 2022 - $681,275.00

 2023 - $653,582.00

 The past valuations are an indication that there is no discrepancy in the 2023 valuation.

          27. Despite Bell determining a lower taxable value than rendered by the Debtors, the

 Debtors protested the established value three (3) months later on July 12, 2023 by submitting a

 “Property Owner’s Notice of Protest”. This form is used by a property owner to protest the

 appraised value of property with the appraisal review board (ARB) pursuant to Texas Tax Code

 §41.41. The stated reason on the form is “incorrect appraised (market) value and/or value is

 unequal compared with other properties”. The protest form is signed by a Vicki Hanks and dated

 July 10, 2023. Ms. Hanks works for Assessment Technologies, Ltd., the entity that is asserting

 that the valuations are improper. On said form, she does not state any opinion of the property’s

 value or any facts relating thereto. She requests an in-person hearing with the ARB. As of the

 filing of this objection, the undersigned does not have subsequent information regarding the ARB

 hearing.

          28.       The Debtors support their pending Motion with the affidavit of John Lammert of

 Assessment Technologies, Ltd. In his affidavit, attached to the Motion, John Lammert states he

 has identified assets that should be reduced or disputed based upon the records maintained by the

 Debtors in the ordinary course of business. He does not specifically identify those records. As

 previously stated, the renditions which the Debtors submitted constitute records maintained by

 the Debtors in the ordinary course of business and those renditions reflect a lower taxable value



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 on the Killeen store and a taxable value only 1.14% higher on the Temple store. Mr. Lammert

 also states that he has relied on other materials, also not specifically identified, and the Debtors’

 sales data, which is irrelevant to valuation as of the required date of January 1, 2023 and the

 statutory definition of fair market value. He further relies on a third-party for-profit firm

 Property Tax Research Services, also irrelevant to the determination. Use of the sale data is

 erroneous because the sales occurred after January 1, 2023 and at least some of the sales were

 not based on arms-length transactions between the Debtors and the purchasers. By the end of the

 liquidation process, the sales were likely “fire sales”, aimed at moving the remaining

 merchandise out of the stores. Further, there is no indication how much merchandise remained

 upon the store closing or whether said merchandise was redirected to a warehouse for further

 sale or other disposition. The Debtors have furnished NO documents in support of their

 assertions. They have simply made vague, unsubstantiated allegations by an outside company

 that is a for-profit company focused on reducing commercial property taxes. The renditions were

 submitted at or about the date the Debtors filed their bankruptcy petitions and were submitted by

 the Debtors themselves, through their Vice-President of Tax who presumably would be familiar

 with the company assets and the values thereof. Further, not once does Mr. Lammert reference

 the requirement that appraisal district use Uniform Standards of Professional Appraisal Practice

 be used.

          29.       The 2023 taxes due are $11,746.00. This includes taxes due to: Bell County;

 Central Texas College; Bell County Road; Killeen Independent School District; City of Harker

 Heights; Clearwater Underground Water Conservation District; Bell County WCID #6. The

 taxes are due without penalty or interest no later than January 31, 2024 and become delinquent

 on February 1, 2024.



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                                       THE TEMPLE STORE

          30.       Bell also received Bed Bath & Beyond’s 2023 Business Personal Property

 Rendition of Taxable Property for its Temple, Texas store on April 18, 2023. The rendition was

 also completed and signed by Toni-Anne Andrisano, Bed Bath and Beyond’s Vice President of

 Tax at that time. She signed, affirming that the information was true and accurate to the best of

 her knowledge with the knowledge that making a false statement on the form could result in her

 being found guilty of a Class A misdemeanor or state jail felony under Texas Penal Code Section

 37.10 “Tampering With Governmental Record”. On said form, dated April 11, 2023, Ms.

 Andrisano states that as of a December 31, 2022 Inventory, the Temple store had $701,492.00 in

 inventory, valued at cost. She also provides an itemized listing of furniture and fixtures,

 indicating the acquisition date, age, asset ID number, asset description, cost, and depreciated

 value. She does the same for signs and computer equipment. She states the depreciated value of

 the furniture and fixtures is $20,277.00, $5,990.00 for signs, and $1,285.00 for computer

 equipment, bringing the total value of taxable property to $729,044.00. Bell assessed the taxable

 value at a slightly higher figure than asserted by the Debtors, being $737,441.00. Bell’s taxable

 value on this account has also declined each year for the past eight (8) years as follows:

 2017 - $1,360,306.00

 2018 - $1,163,640.00

 2019 - $1,154,836.00

 2020 - $889,429.00

 2021 - $784,161.00

 2022 - $760,306.00

 2023 - $737,441.00



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 A separate but identical “Property Owner’s Notice of Protest” form was submitted by Vicki

 Hanks for the Temple store. John Lammert, also of Assessment Techologies, Ltd submitted a

 one (1) page affidavit to Bell in August, 2023, requesting the taxable value for the Temple store

 be reduced to $200,373.00 without documentation or substantiation and indicated that he did not

 intend to appear at the ARB hearing.

          31.       The 2023 taxes owed are $16,907.19. This includes taxes due to: Bell County;

 Temple College; Bell County Road; Temple Health and Bioscience District; Temple Independent

 School District; City of Temple; Clearwater Underground Water Conservation District.

                        BELL’S POSITION AND REQUESTS FOR RELIEF

          32. (a) The Court should deny the Motion for lack of proof and incorrect assertions of
 law.

           (b) The Court should abstain from hearing this Motion.

          (c) If the Court does not abstain, the Court should enter scheduling orders for discovery

 and trial dates for each taxing entity.

          33. Bell hereby incorporates any and all additional arguments asserted by the other Texas

 Taxing Authorities.

                                            CONCLUSION

          WHEREFORE, Bell respectfully requests that the Debtors’ Motion be denied.

 Alternatively, Bell requests that the Court abstain from hearing the Motion, or if the Court does

 not abstain, enter scheduling orders. Bell further requests that the Court order such other and

 further relief to which it demonstrates itself entitled herein.

 Dated: Roseland, NJ
 October 17, 2023
                                                 MANDELBAUM BARRETT PC

                                                 By: /s/ Vincent J. Roldan

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                                         Vincent J. Roldan
                                         3 Becker Farm Road
                                         Roseland, NJ 07068
                                         (973) 736-4600

                                         and
                                         /s/ Julie Anne Parsons
                                         Julie Anne Parsons
                                         Texas State Bar No. 00790358
                                         McCREARY, VESELKA, BRAGG &
                                         ALLEN, P.C.
                                         P. O. Box 1269
                                         Round Rock, TX 78680-1269
                                         Telephone: (512) 323-3200
                                         Fax: (512) 323-3205
                                         Email: jparsons@mvbalaw.com

                                         Counsel for Tax Appraisal District of Bell County
                                         Texas




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